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                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF MISSOURI
                                             EASTERN DIVISION


           WENDY McCOY                                  )
             Plaintiff(s),                              )
                                                        )
                                                        )
                        v.                              )         Case No. 4:21-cv-00384-SEP
                                                        )
        WALGREEN PHARMACY                               )
         SERVICE MIDWEST                                )
            Defendant(s).                               )


                  ALTERNATIVE DISPUTE RESOLUTION COMPLIANCE REPORT

                             Complete one option and file this report with the Clerk’s Office:

_____________________________________________________________________________________
                                                        Option 1

☐       The neutral elects to extend the deadline for completing ADR for 14 days and will continue efforts
to    assist  the     parties    in    reaching     a   settlement.  Revised     completion     deadline:
_____________________________________. Such an election by the neutral is permitted once during
the span of a mediation in a single case. If the parties require more time to complete mediation, lead
counsel must file a motion with the Court.

____________________________________________________________________________________
                                                        Option 2

☒       An ADR conference was held on:                                     October 18, 2021            .

         All required individuals, parties, counsel of record, corporate representatives, and/or claims
professionals attended and participated in the ADR conference in good faith, and each possessed the
requisite settlement authority;

        The following individuals, parties, counsel of record, corporate representatives, and/or claims
professionals failed to appear and/or participate in good faith as ordered: _______________________
__________________________________________________________________________________.

        The ADR referral was concluded on October 18, 2021 . The parties [☒ did ☐ did not]
achieve a settlement.                                                      Check One


____________________________________________________________________________________
                                                        Option 3

☐      Although this case was referred to ADR, a conference WAS NOT HELD.
_____________________________________________________________________________________


                Date:         October 19, 2021         Neutral:     /s/ Francis X. Neuner, Jr.
